Case 2:19-cv-10774-JAK-MRW Document 1-1 Filed 12/20/19 Page 1 of 21 Page ID #:4
               Case 2:19-cv-10774-JAK-MRW Document 1-1 Filed 12/20/19 Page 2 of 21 Page ID #:5
Elactrordcany FILED by Supertor Court of Cailfomfa, County of Los Angeles on i                      ^ Carter, Executive Ofiicer/ClerV of Court, by D. Dlaz,Oeputy Cleric
                                                                                                                                                                    8UM»100
                                                       SUMMONS                                                                          POR COURT USE OMLY
                                                                                                                                    (SOLO PARA USOOe LA CORTE)
                                               (CITACtON JUDICIAL)
           NOTICE TO DEFENDANT:
           fA V7SO AL DEMANDADO):
           TARGET COPORPORATION, and DOES 1-10, inclusive, and each of
           them.
           YOU ARE BEING SUED BY PLAINTIFF:
           (LO ESTA DEMANDANDO el DEMANDANTE):
           KARLA URIBE,

            NOnCEl You have been sued. The court may dedde gainst you s^thout your being heard unless you respond within 30 days. Read the infonnatbn
            below.
               You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
            served on the plaintiff. A letter or [ftiorte call will not protect you. Your written response must be In proper legal form if you want the court to hear your
            case. There may be a court term that you can use ter your response. You can find these court terms and more Intermation at the Califomia Courte
            Online SeIf>Help Center (www.courVnfo.ca.gov/seffhe^), your county law library, or (he courthouse nearest you. If you cannot pay the filing fee, ask
            the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by defoult, and your wages, money, and property
            may be taken without further warning fi^ the court.
               There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
            referral service. If you cannot afford an attorney, you nrtay be eligible for free legal services from a nonprofit legal services program. You can locate
            these nonprofit groups at the Califomia Legal ^rvices Web site (www./sw/7s/pc9f/fom/a.Qrg), the Calltemia Courts Online Self-Help Center
            {www.coui1info.ca.gov/setfhelp), or contacting your local court or county bar association. NOTE: The court has a statutory Hen for waived fees and
            costs on any settlement or arbitration avtrard of $10,000 or more In a dvfl case. The courts lien must be paid before the court will dismiss the case.
            /A W50f Lo han demandatio. SI no rasponda dentm da 30 dfas, la corta puada decidir an su contra sin aseuchar su versfon. Lea la Infyrmacldn a
            contlnuadOn.
               TIena 30 DiAS DE CALENDARIO despu6a da quo la antraguan esta dtaddn y papefes lagales para presenter una raspuasta por escrfto an asta
            corta y hacar qua sa entragua una copla al demarKfa/rfe. Una carta o una llama^ t^fOnlca no to protegen. Su raspuasta por escrtto tiana qua ester
            an formato legal corracto si dasaa qua procesen su caso an la corta. Es posibla qua haya un formulario qua usted puada usar para su raspuasta.
            Puada ancontrar astos formularlos da la corta y mSs fnformac/dn an el Centro da Ayuda da las Cortos da Calltomla (Www.sucorte.ca.gov^, an la
            bIbJtoteca <to layas da su condado o an la corta qua la queda mOs carca. SI no puada pagar la cuota da presentecfon, pida el sacratario da la corta
            qua la dd un fOrmularlo da exencfon da pago da cuotas. SI no presenfa su raspuasta a tiempo, puada pardar el caso por Incumpllmlento y la corta la
            podrO quitar su suakfo, dinero y blenas sfn mis advartanda.
              Hay otros raquisitos lagales. Es racoirtandable qua llama a un abogado Inmadlatamante. Si no cortoce a un abogado, puada llamar a un sarvldo da
            remtefon a abogados. Sf no puada pagar a un abogado, as posiUe qua cumpla con fos raquisitos para obtaner sarvlclos legalas gratultos da un
            programa da servldos fegafes sin fines da lucro. Puada ancontrar astos grupos sin Ones da lucre an ef sitto web da California Legal Sendees,
            {VvwwJawhelpcallfomla.org). an al Cerrtro da Ayuda da las Cortes da California, ^vww.sucorte.ca.gov) o ponidndose an conteefo con la corta o el
            colaglo da abogados locales. AV750.' Por lay. la corta Uena deracho a reefamar las cuotas y tos costos exantos por Importer un gravamen sobre
            cupular racuparadbn da $10,000 b mbs da valor reclblda medlanta un acuardo o una concesfon da arbitraje an un caso da darecho cMl. TIena qua
            pagar al gravamen da la corta antes da qua la corta puada dasachar el caso.
          The name and address of the court is:                                                                        CASE NUMBER:
                                                                                                                       (NQitwo M Caso):
          (El nombre y direcdOn do la code os): Stanley Mosk Courthouse
                                                                                                                                  1 9STI 01 0742
            111 North Hill Street
           Los Angeles, CA 90012
          The name, address, end telephone number of (dalntifPs attorney, or plaintiff without an attorney. Is:
          (£1 nombro, la dlrocddn y el numero do tol6fono del obogodo del demandonte, o del demandante quo no tiane abogado, es):
           Todd M. Friedman, 21550 Oxnard St., Suite 780 Woodland Hills, CA 91367, 323-306-4234
                                                                                           Sherri R. Carter Executive Officer^ Clerk of Court
           DATE:                                                                 Clerk, by                                             , Deputy
           rFecha) 11/20/2019                                                    (Secretaiio)                 Diana Diaz                (Adjunto)
          (For proof of service of this summons, use Proofof Service of Summons (form POS-010).)
          (Para prueba do entrega de esta citation use el foimulaiio Proof of Service of Summons, /POS-OlO)).
                                            NOTICE TO THE PERSON SERVED: You are served
           (SEAL]
                                            1. I      I as an individual defendant
                                            2. I----- 1 as the person sued under the fictitious name of (specify):


                                                   3. fSp onbehalf of (specify):
                                                                                           Target Corporation
               &                       m
               0k
               s                       %               under 1^^ CCP 416.10 (corporation)                 [                   ]   CCP 416.60 (minor)
                                                             I  I CCP 416.20 (defunct corporation)                            ] CCP 416.70 (conservatee)
                                                             [~~| CCP 418.40 (association or partnership) |                   | CCP 416.90 (authorized person)
                      m                                ^  I    I other (specify):
                                                   4. CQ by personal delivery on (date):
           Fenn Adoptad tv Mandatory Usa
             Jixicia)      ofCaUamls
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                                      Assigned for all purposes to: Stanley Mosk Courthouse. Judicial Officer. Serena Murillo




               I     Todd M. Friedman (216752)
                     Adrian R. Bacon (2803332)
               2
                     Law Offices of Todd M. Friedman, P.C.
               3     21550 Oxnard St., Suite 780
                     Woodland Hills, CA 91367
               4     Phone: 323-306-4234
               5
                     Fax: 866-633-0228
                     tfriedman@toddflaw.com
               6     abacon@toddflaw.com
                     Attorneys for Plaintiff
               7

               8                             SUPERIOR COURT OF THE STATE OF CALIFORNIA
               9
                                                   FOR THE COUNTY OF LOS ANGELES
                                                        LIMITED JURISDICTION
              10
                                                                                         )    Case No. ^ 9STL.C1 07 4 2
              ii
                                                                                         )
              12
                                                                )                            COMPLAINT FOR VIOLATION OF
                     KARLA URIBE, individually and on behalf of )                            ROSENTHAL FAIR DEBT COLLECTION
              13     all others similarly situated,             )                            PRACTICES ACT; FEDERAL FAIR DEBT
                                                                )                            COLLECTION PRACTICES ACT; AND
              14
                     Plaintiff,                                 )                            TELEPHONE CONSUMER PROTECTION
              15                                                )                            ACT
                             vs.                                )
              16                                                                         )    (Amount not to exceed $10,000)
                     TARGET CORPORATION, and DOES 1-10, )
              17
                     inclusive, and each of them,       )                                          1. Violation of Rosenthal Fair Debt
              18                                                                         )            Collection Practices Act
                     Defendant.                                                          )         2. Violation of Fair Debt Collection
              19                                                                         )            Practices Act
                                                                                         )         3. Violation of Telephone Consumer
              20
                                                                                         )            Protection Act
              21

              22                                                         I. INTRODUCTION
             23                 1. This is an action for damages brought by two individual consumers for Defendant’s
              24
                     violations of the Rosenthal Fair Debt Collection Practices Act, Cal Civ Code §1788, et seq.
              25
                     (hereinafter “RFDCPA”) and the Fair Debt Collection Practices Act, 15 U.S.C. §1692, et seq.
             26

              27
                     (hereinafter “FDCPA”), both of which prohibit debt collectors from engaging in abusive,

             28      deceptive, and unfair- practices. Ancillary to the claims above, Plaintiff further allege claims



                                                                                  Complaint • 1
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 1   for Defendant’s violations of the Telephone Consumer Protection Act., 47 U.S.C. §227, et seq.
 2
     (hereinafter “TCPA”).
 3
                                            U. PARTIES
 4

 5
             2.     Plaintiff, KARLA URIBE (“Plaintiff’), are natural persons residing in Los

 6   Angeles County in the state of California, and are each a “consumer” as defined by the
 7   FDCPA, 15 U.S.C. §1692a(3), are each a “debtor” as defined by Cal Civ Code § 1788.2(h) and
 g
     are each a “person” as defined by 47 U.S.C. § 153(10).
 9
             3.     At all     relevant times herein, Defendant, TARGET CORPORATION
10

II   (“Defendant”) was a company engaged, by use of the mails and telephone, in the business of

12   collecting a debt from Plaintiff which qualifies as a “debt,” as defined by 15 U.S.C. §1692a(5).
13
     and a “consumer debt,” as defined by Cal Civ Code § 1788.2(f). Defendant regularly attempts
14
     to collect debts alleged to be due another, and therefore is a “debt collector” as defined by the
15
     FDCPA, 15 U.S.C. §l692a(6), and RFDCPA, Cal Civ Code § 1788.2(c). Defendant is a
16

17   “person” as defined by 47 U.S.C. § 15S (10).

18                                  m. FACTUAL ALLEGATIONS
19
             4.     At various and multiple times prior to the filing of the instant complaint.
20
     including within the one year preceding the filing of this complaint. Defendant contacted
21
     Plaintiff in an attempt to collect an alleged outstanding debt.
22

23           5.     In or around October, 2019, Plaintiff began receiving calls from Defendant from
24   the phone numbers (612) 815-5881 and (612) 815-5872. Defendant called Plaintiffs cell
25
     phone numbers. On at least one occasion, Plaintiff Karla Uribe told Defendant to stop calling
26
     Plaintiff.
27

28




                                                 Complaint - 2
 Case 2:19-cv-10774-JAK-MRW Document 1-1 Filed 12/20/19 Page 5 of 21 Page ID #:8




 1          6.        On October 17, 2012, Plaintiffs counsel sent a written notice of representation
 2
     to Defendant. Defendant was notified to stop contacting Plaintiff directly and to communicate
 3
     only with Plaintiffs counsel.
 4

 5
            8.        Plaintiff Karla Uribe is informed and believes that in October 2019, she received
 6
     at least three calls from Defendant to her cell phone number of ending in -5187.
 7
            9.        In or around October, 2019, Plaintiff continued to receive calls from Defendant.
 8
     Defendant had not been given permission by Plaintiffs counsel to contact Plaintiff directly.
 9

10           12.      Defendant used an “automatic telephone dialing system”, as defined by 47

11   U.S.C. § 227(a)(1), to place its repeated collection calls to Plaintiff seeking to collect the Target
12                                                                                                           (
     debt allegedly owed.
13
             13.      Defendant’s calls constituted calls that were not for emergency purposes as
14
     defined by 47 U.S.C, § 227(b)(1)(A).
15
             14.      Defendant’s calls were placed to telephone number assigned to a cellular
16
     telephone service for which Plaintiff incurs a charge for incoming calls pursuant to 47 U.S.C.
17
     §227(b)(l).
18
             16.      Defendant’s conduct violated the FDCPA and the RFDCPA in multiple ways,
19
     including but not limited to:
20

21
                   a) Failing to provide Plaintiff with the notices required by 15 USC §1692g,
22                    either in the initial communication with Plaintiff, or in writing within 5
                      days thereof (§ 1692g(a));
23

24                 b) Causing Plaintiffs telephone to ring repeatedly or continuously with
                      intent to harass, annoy or abuse Plaintiff (§ 1692d(5));
25

26
                   c) Communicating with Plaintiff at times or places which were known or
                      should have been known to be inconvenient for Plaintiff (§ 1692c(a)( 1));
27
                   d) Causing a telephone to ring repeatedly or continuously to annoy Plaintiff
28                    (Cal Civ Code §1788.11(d));



                                                  Complaint • 3
Case 2:19-cv-10774-JAK-MRW Document 1-1 Filed 12/20/19 Page 6 of 21 Page ID #:9




 1
                   e) Communicating, by telephone or in person, with Plaintiff with such
                      frequency as to be unreasonable and to constitute an harassment to
 2
                      Plaintiff under the circumstances (Cal Civ Code § 1788.11 (e));
 3
                   0 Where Defendant had not yet made an attempt to contact PlaintifTs
 4                    counsel or had not given Plaintiffs counsel sufficient time to respond to
 5
                      the initial attempt to communicate with Plaintiffs counsel, and where
                      Plaintiffs counsel had not given Defendant permission to contact
 6                    Plaintiff directly, communicating with Plaintiff directly after learning
                      that Plaintiff is being represented by counsel (§ 1692c(a)(2); and
 7

 8                 g) Initiating communications, other than statements of account, with
                      Plaintiff with regard to the consumer debt, where the debt collector has
 9                    been previously notified in writing by the debtor's attorney that the
                      debtor is represented by such attorney with respect to the consumer debt,
10
                      and such notice included the attorney's name and address and a request
II                    by such attorney that all communications regarding the consumer debt be
                      addressed to such attorney, and where the attorney has not failed to
12                    answer correspondence, return telephone calls, or discuss the obligation
                      in question. (Cal Civ Code §1788.14(c)).
13

14
             17.      Defendant’s conduct violated the TCPA by:
15

16                 a) using any automatic telephone dialing system or an artificial or pre­
                      recorded voice to any telephone number assigned to a paging service,
17                    cellular telephone service, specialized mobile radio service, or other
                      radio common carrier service, or any service for which the called party is
18
                      charged for the call (47 USC §227(b)(A)(iii)).
19

20           18.      As a result of the above violations of the FDCPA, RFDCPA, and TCPA,
21
     Defendant is liable to Plaintiff for Plaintiffs actual damages, statutory damages, and costs and
22
     attorney’s fees.
23

24
                               COUNT I; VIOLATION OF ROSENTHAL
                             FAIR DEBT COLLECTION PRACTICES ACT
25
             19.      Plaintiff reincorporates by reference all of the preceding paragraphs.
26

27          20.       To the extent that Defendant’s actions, counted above, violated the RFDCPA,

28   those actions were done knowingly and willfully.



                                                  Complaint - 4
Case 2:19-cv-10774-JAK-MRW Document 1-1 Filed 12/20/19 Page 7 of 21 Page ID #:10




 1                                      PRAYER FOR RELIEF
 2
            WHEREFORE, Plaintiff respectfully pray that judgment be entered against Defendant
 3
     for the following:                                                      •I
 4

 5
                    A.     Actual damages;
                    B.     Statutory damages for willful and negligent violations;
 6                  C.     Costs and reasonable attorney’s fees,
                    D.     For such other and further relief as may be just and proper.
 7
                              COUNT II; VIOLATION OF FAIR DEBT
 8                              COLLECTION PRACTICES ACT
 9
            21.     Plaintiff reincorporates by reference all of the preceding paragraphs.
10
                                        PRAYER FOR RELIEF
11
            WHEREFORE, Plaintiff respectfully pray that judgment be entered against Defendant
12

13   for the following:

14                  A.     Actual damages;
                    B.     Statutory damages;
15
                    c.     Costs and reasonable attorney’s fees; and,
16                  D.     For such other and further relief as may be just and proper.
17                          COUNT ni; VIOLATION OF TELEPHONE
18
                               CONSUMER PROTECTION ACT

19
            22.     Plaintiff incorporates by reference all of the preceding paragraphs.
20

21
            23.     The foregoing acts and omissions of Defendant constitute numerous and

22   multiple negligent violations of the TCPA, including but not limited to each and every one of
23   the above cited provisions of 47 U.S.C. § 227 el seq.
24
            24.     As a result of Defendant’s negligent violations of 47 U.S.C. §227 et seq.,
25
     Plaintiff is entitled an award of $500.00 in statutory damages, for each and every violation.
26

27   pursuant to 47 U.S.C. § 227(b)(3)(B).

28          25.     The foregoing acts and omissions of Defendant constitute numerous and



                                                Complaint - 5
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 1   multiple knowing and/or willful violations of the TCPA, including but not limited to each and
2
     every one of the above cited provisions of <^7 U.S.C. § 227 et seq.
3
               26.   As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227
4

 5
     et seq., Plaintiff is entitled an award of $1,500.00 in statutory damages, for each and every

 6   violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
 1             27.   Plaintiff is entitled to and seek injunctive relief prohibiting such conduct in the
 8
     future.
 9
                                         PRAYER FOR RELIEF
10

II             WHEREFORE, Plaintiff respectfully pray that judgment be entered against the

12   Defendant for the following:
13
                     A. As a result of Defendant’s negligent violations of 47 U.S.C.
14                      §227(b)(l), Plaintiff is entitled to and request $500 in statutory
                        damages, for each and every violation, pursuant to 47 U.S.C.
15                      227(b)(3)(B).
                     B. As a result of Defendant’s willful and/or knowing violations of 47
16
                        U.S.C. §227(b)(}), Plaintiff is entitled to and requests treble
17                      damages, as provided by statute, up to $1,500, for each and every
                        violation, pursuant to 47 U.S.C. §227(b)(3)(B) and 47 U.S.C.
18                      §227(b)(3)(C).
                     C. Any and all other relief that the Court deems just and proper.
19

20
                        PLAINTIFF HEREBY REQUEST A TRIAL BY JURY
21

22

23                                                   Respectfully submitted November 20, 2019
24

25
                                             By:
26                                                   Todd M. Friedman, Esq.
                                                     Law Offices of Todd M. Friedman, P.C.
27                                                   Attorney for Plaintiff,
28




                                                   Complaint - 6
                   Case 2:19-cv-10774-JAK-MRW Document 1-1 Filed 12/20/19 Page 9 of 21 Page ID #:12
Electronically FILED by Superior Court of Califomia, County of Los Angeles on 11/20/20t%glFKfl^fjS(prrl R. Carter. Executive Officer/Clerit of Court by 0. OIaz,Deputy                 n4 q

            ATTORNEY OR PARTY VMTHOL/T ATTORNEY Wame, Srare8ar/)i/r7i£ier. and atftfress);                                                       FOR COURT USE ONLY
               Todd M. Friedman, Esq. SBN 216752
               Law Offices of Todd M. Friedman
               21550 Oxnard St., Suite 780
               Woodland Hills, CA 91367
                 TELEPHONE NO.: 323-306-4234               FAXNo.: 866-633-0228
            ATTORNEY FOR fwame).- Plaintiff, Soohia Hernandez
           SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS AngeleS
                STREET ADDRESS: 111 Nofth Hill Street
               MAILING ADDRESS: 111 North Hill StTCCt
                    OTY AND ZIP CODE: Los Angelcs. CA 90012
                       BRANCH NAME: Stanley Mosk Courthouse
               CASE NAME;
               Karla Uribe v. Target Corporation, et al.
                                                                                                          CASE NUMBER:
               CIVIL CASE COVER SHEET                            Compiex Case Designation
           I -J Unlimited        I / I Limited                                                               1 9STI_01 0742
                 {Amount                (Amount             I    I Counter         I     I Joinder
                                                                                                           JUDGE:
                 demanded               demanded is        Fiied with first appearance by defendant
                 exceeds $25,000)       $25,000 or iess)        (Cai. Ruies of Court, ruie 3.402)           DEPT;

                                           Items 1-6 below must be completed (see instructions on page 2).
           1. Check one box beiow for the case type that best describes this case:
              Auto Tort                                   Contract                                 Provisionally Complex Civil Litigation
                    Auto (22)                                 I Breach of contractAwan-anty (06) (^^l. Rules of Court, rules 3.400-3.403)
              I -I Uninsured motorist (46)                    I Rule 3.740 collections (09)        LJ Antitrust/Trade regulation (03)
              Other PI/PD/WD (Personal Injury/Property        I  Other collections  (09)           LJ    Construction defect (10)
                   Damage/Wrongful Death) Tort                            ___ Insurance coverage (18)                  I    I Mass tort (40)
                   LJ Asbestos (04)                                          I Other contract (37)                     LD Securities litigation (28)
                   (ZH Product liability (24)                             ^eal Property                                I I Environmental/Toxic tort (30)
                   I  I Medical malpracUce (45)                               I Eminent domain/inverse                 I    I Insurance coverage claims arising from the
                   CZ] Other PI/PD/WD (23)                                      condemnation (14)                             above listed provisionally complex case
                                                                              I Wrongful eviction (33)                        types (41)
                    Non-PI/PD/WD (Other) Tort
                   I-----1 Business tort/unfair business practice (07)        I Other real property (26)               Enforcement of Judgment
                   □ Civil rights (08)                                    Jnlawful Detainer                            I    I Enforcement of judgment (20)
                   LJ Defamation (13)                                     ^D Commercial (31)                           Miscellaneous Civil Complaint
                   CD Fraud (16)                               I Residential (32)                   CD RICO (27)
             LD Intellectual property (19)                     I Drugs (38)                         I    I Other complaint (nof specified above) (42)
             LJ Professional negligence (25)               Judicial Review                          Miscellaneous Civil Petition
             CD Other non-PI/PD/WD tort (35)                _J Asset forfeiture (05)                I    i Partnership and corporate governance (21)
             Employment                                     ^ Petition re: artjiuationawart (11) Q other petition (not specWed aiove) (43)
                  I Wongfijl termination (36)                  I Writ of mandate (02)
                  I Other employment (15)                      I Other iudidal review (39)
          2. This case I       I is    I / I is not  complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
             factors requiring exceptional judicial management                   ___
             a. I I Large number of separately represented parties          d. I    I Large number of witnesses
             b. I I Extensive motion practice raising difficult or novel    e. I    I Coordination with related actions pending in one or more courts
                ___ issues that will be time-consuming to resolve                 ___ in other counties, states, or countries, or in a federal court
             c. I    I Substantial amount of documentary evidence            f. I    I Substantial postjudgment judicial supervision
          3.       Remedies sought (check all that apply): a.I ✓ I monetary b. I / I nonmonetary; declaratory or injunctive relief                                  c. I / I punitive
          4.       Number of causes of action (specify): 5
          5.       This case I      I is  l /H is not a class action suit.
          6.       If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
          Date: November 20, 2019
          Todd M. Friedman
                                             (TYPE OR PRINT NAME)
                                                                                                      ►              (SIGNATURE OF PARTY OR ATTORNEY FOR P/^TY)
                                                                                      NOTICE
               •   Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
                   under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
                   in sanctions.
               •   File this cover sheet in addition to any cover sheet required by local court rule.
               •   If this case is complex under rule 3.400 et seq. of the Califomia Rules of Court, you must serve a copy of this cover sheet on all
                   other parties to the action or proceeding.
               •   Unless this is a collections case under rule 3.740 or a complex case, this cover sheet \mII be used for statistical puiposes onl^.
          Four) Adopted for Merxlatory Use                                                                                         Cd. Rules of Court, njles 2.30, 3.220. 3.400-3.403, 3.740;
            Judicial Council of Califomia
                                                                         CIVIL CASE COVER SHEET                                           Cal. Standards of Judldd Administration, std. 3.10
            CM.010 [Rev. July 1.2007]                                                                                                                                   www.eoui11nlo.c3.gov
                                                                                                                                                                  American LegalNet. Inc.
                                                                                                                                                                  wvAv.FormsI'MvMfCm'.COm
       Case 2:19-cv-10774-JAK-MRW Document 1-1 Filed 12/20/19 Page 10 of 21 Page ID #:13
                                                                                                                                         CM-010
                                      INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
    To Plaintiff and Others Filing First Papers, if you are filing a first paper (for example, a complaint) in a civil case, you must
    complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
    statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
    one box for the case type that best describes the case. If the case fits both a general and a more specif c type of case listed in item 1,
    check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
    To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
    sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party.
j   Its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
    To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
    owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
    which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
    damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
    attachment The identification of a case as a rule 3.740 collections case on this form means that it will be exempt fi’om the general
    time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
    case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
    To Parties In Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
    case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
    completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
    complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
    plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
    the case is complex.                                      CASE TYPES AND EXAMPLES
    Auto Tort                                        Contract                                            Provisionally Complex Civil Litigation (Cal.
         Auto (22)-Personal Injury/Property              Breach of Contract/Warranty (06)                Rules of Court Rules 3.400-3.403)
               DamageA/Vrongful Death                         Breach of Rental/Lease                          Antitrustn’rade Regulation (03)
         Uninsured Motorist (46) (if the                           Contract (not unlawful detainer            Construction Defect (10)
               case involves an uninsured                              or wrongful eviction)                  Claims Involving Mass Tort (40)
               motorist claim subject to                      Contract/Warranty Breach-Seller                 Securities Litigation (28)
               arbitration, check this item                        Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
               instead of Auto)                               Negligent Breach of Contract/                   Insurance Coverage Claims
    Other PI/PD/WD (Personal Injury/                               Warranty                                       (arising from provisionally complex
    Property Damage/Wrongful Death)                           Other Breach of Contract/Wananty                    case type listed above) (41)
    Tort                                                 Collections (e.g., money owed, open              Enforcement of Judgment
         Asbestos (04)                                        book accounts) (09)                             Enforcement of Judgment (20)
              Asbestos Property Damage                        Collection Case-Seller Plaintiff                    Abstract of Judgment (Out of
                                                              Other Promissory Note/Collections                         County)
              Asbestos Personal Injury/
                     V^ongful Death                                Case                                           Confession of Judgment (non­
         Product Liability (not asbestos or              Insurance Coverage (not provisionally                          domestic relations)
              toxic/environmental) (24)                       complex) (18)                                       Sister State Judgment
         Medical Malpractice (45)                            Auto Subrogation                                     Administrative Agency Award
              Medical Malpractice-                            Other Coverage                                          (not unpaid taxes)
                     Physicians & Surgeons               Other Contract (37)                                      Petition/Certification of Entry of
              Other Professional Health Care                  Contractual Fraud                                       Judgment on Unpaid Taxes
                     Malpractice                              Other Contract Dispute                              Other Enforcement of Judgment
                                                     Real Property                                                      Case
         Other PI/PD/WD (23)
                                                         Eminent Domain/Inverse                           Miscellaneous Civil Complaint
              Premises Liability (e.g., slip
                     and fall)                                Condemnation (14)                               RICO (27)
              Intentional Bodily Injury/PD/WD            V^ongful Eviction (33)                               Other Complaint (not speciried
                                                                                                                  above) (42)
                     (e.g., assault, vandalism)          Other Real Property (e.g., quiet title) (26)
              Intentional Infliction of                                                                           Declaratory Relief Only
                                                             Writ of Possession of Real Property                  Injunctive Relief Only (non-
                     Emotional Distress                       Mortgage Foreclosure                                      harassment)
              Negligent Infliction of                         Quiet Title
                     Emotional Distress                                                                           Mechanics Lien
                                                              Other Real Property (not eminent                    Other Commercial Complaint
              Other PI/PD/WD                                  domain. landlordAenant, or
                                                                                                                        Case (non-tort/norhcomplex)
    Non-Pt/PD/WD (Other) Tort                                 foreclosure)                                        Other Civil Complaint
         Business Tort/Unfair Business               Unlawful Detainer                                                 (norhtort/non-complex)
             Practice (07)                               Commerdat (31)                                   Miscellaneous Civil Petition
         Civil Rights (e.g., discrimination,             Residential (32)                                     Partnership and Corporate
             false arrest) (not civil                    Drugs (38) (if the case involves illegal                 Governance (21)
              harassment) (08)                                drugs, check this item; otherwise,              Other Petition (not specified
         Defamation (e.g., slander, libel)                   report as Commercial or Residential)                 above) (43)
                (13)                                 Judicial Review                                              Civil Harassment
         Fraud (16)                                     Asset Forfeiture (05)                                     Workplace Violence
         Intellectual Property (19)                      Petition Re: Arbitration Award (11)                      Elder/Dependent Adult
         Professional Negligence (25)                   Writ of Mandate (02)                                            Abuse
             Legal Malpractice                               Writ-Administrative Mandamus                         Election Contest
             Other Professional Malpractice                  Writ-Mandamus on Limited Court                       Petition for Name Change
                  (not medical or legal)                          Case Matter                                     Petition for Relief From Late
          Other Non-PI/PD/WO Tort (35)                       Writ-Other Limited Court Case                              Claim
    Employment                                                    Review                                          Other Civil Petition
         Wrongful Termination (36)                      Other Judidal Review (39)
         Other Employment (15)                               Review of Health Officer Order
                                                             Notice of Appeal-Labor
                                                                 Commissioner Appeals
    CM-010 {Rev. Juty 1.2007]                                                                                                                Page 2 or 2
                                                         CIVIL CASE COVER SHEET
      Case 2:19-cv-10774-JAK-MRW Document 1-1 Filed 12/20/19 Page 11 of 21 Page ID #:14

 SHORT TiTLE:                                                                                          CASE NUMBER
              Karla Uribe v. Target Corporation, et al.


                                CIVIL CASE COVER SHEET ADDENDUM AND
                                        STATEMENT OF LOCATION
                 (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
                This form is required pursuant to Local Rule 2.3 in ail new civil case filings in the Los Angeles Superior Court



      Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
              Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


      Step 2: In Column B, check the box for the type of action that best describes the nature of the case.


      Step 3: In Column C, circle the number which explains the reason for the court filing location you have
              chosen.

                                            Applicable Reasons for Choosing Court Filing Location (Column C)

1. Class actions must be filed in the Stanley Mosk Courthouse. Central District.       7. Location where petitioner resides.
2. Permissive filing in central district.                                              8. Location wherein defendant/respondent functions wholly.
3. Location where cause of action arose.                                               9. Location where one or more of the parties reside.
4. Mandatory personal Injury filing in North District.                                10. Location of Labor Commissioner Office.
                                                                                      11. Mandatory filing location (Hub Cases - unlawful detainer, limited
5. Location vthere performance required or defendant resides.                         non-collection, limited collection, or personal injury].
6. Location of property or permanently garaged vehicle.




                             Auto (22)              □ A7100 Motor Vehicle ■ Personal Injury/Property DamageA/Vrongful Death               1,4,11
   - «
   3 O
   < •-              Uninsured Motorist (46)        □ A7110 Personal Injury/Property Damage/Wrongful Death - Uninsured Motorist           1.4.11


                                                    □ A6070 Asbestos Property Damage                                                      1.11
                          Asbestos (04)
                                                    □ A7221 Asbestos - Personal InjuryA^rongful Death                                     1,11

                       Product Liability (24)       □ A7260 Product Liability (not asbestos or toxic/environmental)                       1, 4,11
   i. f
    £• Q                                            □ A7210 Medical Malpractice • Physicians & Surgeons                                       1.4.11
                     Medical Malpractice (45)                                                                                             1.4.11
   —a ?                                             □ A7240 Other Professional Health Care Malpractice
    g 2
                                                    □ A7250 Premises Liability (e.g., slip and fall)                                      1,4,11
                         Other Personal
                         Injury Property            □ A7230 Intentional Bodily Injury/Property DamageA/Vrongful Death (e.g.               1.4, 11
    o E
   JS CB
                        Damage Wrongful                     assault, vandalism, etc.)
   o o
   **
                           Death (23)                                                                                                     1.4. 11
                                                    □ A7270 Intentional Infliction of Emotional Distress
                                                                                                                                          1.4. 11
                                                    □ A7220 Other Personal Injury/Property DamageA/Vrongful Death




   LACIV109 (Rev 2/16)                             CIVIL CASE COVER SHEET ADDENDUM                                                     Local Rule 2.3
   LASC Approved 03-04                                AND STATEMENT OF LOCATION                                                           Page 1 of 4
    Case 2:19-cv-10774-JAK-MRW Document 1-1 Filed 12/20/19 Page 12 of 21 Page ID #:15

SHORT TITLE;                                                                                    CASE NUMBER
               Karla Uribe v. Target Corporation, et al.




               S»»g3Si
                     Business Tort (07)         □ A6029 Other Commercial/Business Tort (not fraudft)reach of contract)             1.2.3

                      Civil Rights (08)         □ A6005 Civil Rights/Oiscrimination                                                1,2.3
    s£
   £ S                Defamation (13)           □ A6010 Defamation (slander/libel)                                                 1.2.3
   -bS
    3 3
   *5* 3)                Fraud (16)             □ A6013 Fraud (no contract)                                                        1.2.3
   IJ                                           □ A6017 Legal Malpractice                                                          1.2.3
   J2 -3
                Professional Negligence (25)
   'll
   o ra
   z o
                                                □ A6050 Other Professional Malpractice (not medical or legal)                      1.2.3
                                                                                                                                                  r

                         Other (35)             □ A6025 Other Non-Personal Injury/Property Damage tort                             1.2.3

                 Wrongful Termination (36)      □ A6037 Wrongful Teimination                                                       1,2.3
     a>
     E
     >«                                         □ A6024 Other Emplo^ent Complaint Case                                             1.2.3
     cx           Other Employment (15)
     E                                          □ A6109' Labor Commissioner Appeals                                                10
    UJ

                                                □ A6004 Breach of Rentat/Lease Contract (not unlawful detainer or wrongful         2.5
                                                        eviction)
                Breach of Contract/ Warranty                                                                                       2,5
                            (06)                □ A6006 Contract/Warranty Breach -Seller Plaintiff (no fraud/negitgence)
                      (not insurance)                                                                                              1.2.5
                                                □ A6019 Negligent Breach of ContractA/Varranty (no fraud)
                                                                                                                                   1.2.5
                                                □ A6028 Other Breach of ContractA/Vamanty (not fraud or negligence)

     t3                                         □ A6002 Collections Case-Seller Plaintiff                                          5, 6.11
     2                Collections (09)
    o                                           □ A6012 Other Promissory Note/Coilections Case                                     5.11
    o                                           □   A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt               5. 6.11
                                                          Purchased on or after January 1. 2014)
                  Insurance Coverage (18)       □ A6015 Insurance Coverage (not complex)                                           1.2. 5,8

     I                                          □ A6009 Contractual Fraud                                                          1.2, 3,5
                    Other Contract (37)         □ A6031 Tortious Interference                                                      1.2, 3,5
                                                O A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)              1.2,3, 8,9

                  Eminent Domain/Inverse        □ A7300 Eminent Domain/Condemnation               Number of parcels.               2.6
                    Condemnation (14)

                   Wrongful Eviction (33)       □ A6023 Wrongful Eviction Case                                                     2.6
     o
    a.
                                                □ A6018 Mortgage Foreclosure                                                       2.6
    oe            Other Real Property (26)      □ A6032 Quiet Title                                                                2,6
                                                □ A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2.6

               Unlawful Detainer-Commercial     □ A6021 Unlawful Detainer-Commerdal (not dnjgs or wrongful eviction)               6,11
     a>                    (31)
     c
     <5         Unlawful Detainer-Residential
                                                □ A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)             6,11
    o                       (32)
     3              Unlawful Detainer-
    •s             Post-Foreclosure (34)
                                                □ A6020F Unlawful Detainer-Post-Foreclosure                                        2. 6.11
     c
    3           Unlawful Detainer-Drugs (38)    □ A6022 Unlawful Detainer-Drugs                                                    2. 6.11



 LACIV109 (Rev 2/16)                            CIVIL CASE COVER SHEET ADDENDUM                                                  Local Rule 2.3
 LASC Approved 03-04                               AND STATEMENT OF LOCATION                                                       Page 2 of 4
   Case 2:19-cv-10774-JAK-MRW Document 1-1 Filed 12/20/19 Page 13 of 21 Page ID #:16

SHORT TITLE:                                                                                        CASE NUMBER
               Karla Uribe v. Target Corporation, et al.

                                                    t’"'
                                                           :r                                                             .<'-^i-C-^^pliu^ble'-''':'
                         Case Cover Sheetr':, !:'
                                                                                                                          gggg
                     Asset Forfeiture (05)           □ A6108 Asset Forfeiture Case                                         2. 3.6


     9            Petition re Arbitration (11)       □ A6115 Petition to Compel/Confimi/Vacate Arbitration                 2.5
    .S
     t
    oc                                               □ A6151 Writ • Administrative Mandamus                                2.8
                     Writ of Mandate (02)            □ A6152 Writ-Mandamus on Limited Court Case Matter                    2
    .a
     a                                               □ A6153 Writ - Other Limited Court Case Review                       2

                  Other Judicial Review (39)         □ A6150 OtherWrit/Judicial Review                                    2.8

                Antitrust/Trade Regulation (03)      □ A6003 Antitrust/Trade Regulation                                    1,2.8
     g
     S>            Construction Defect (10)          □ A6007 Construction Defect                                           1.2.3

                  Claims Involving Mass Tort
     8                       (40)
                                                     □ A6006 Claims Involving Mass Tort                                    1,2.8
     (X
     E
    o
    o              Securities Litigation (28)        □ A6035 Securities Litigation Case                                    1.2,8

     «
     c                    Toxic Tort
    .2                                               □ A6036 Toxic Tort/Environmental                                      1,2. 3,8
                      Environmental (30)
    .S
     o           Insurance Coverage Claims
    £                                                □ A6014 Insurance Coverage/Subrogation (complex case only)            1.2. 5. 8
                   from Complex Case (41)

                                                     □ A6141 Sister State Judgment                                        2. 5.11
                                                     □ A6160 Abstract of Judgment                                         2.6
   c 'S
   a>
   E E                   Enforcement                 O A6107 Confession of Judgment (non-domestic relations)              2.9
   Sf                  of Judgment (20)              □ A6140 Administrative Agency Award (not unpaid taxes)               2.8
   2 ^
  ui 'o                                              □ A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax     2.8
                                                     O A6112 Other Enforcement of Judgment Case                           2. 8.9

                          RICO (27)                  □ A6033 Radteteering (RICO) Case                                     1.2,8
      £
                                                     □ A6030 Declaratory Relief Only                                      1.2.8
  It                                                 □ A6040 Injunctive Relief Only (not domestic/harassment)             2.8

  11
                       Other Complaints
                  (Not Specified Above) (42)         □ A6011 Other Commercial Complaint Case (non-tort/non-complex)       1,2,8
  S o
                                                     □ A6000 Other Civil Complaint (non-tort/non-complex)                 1,2.8

                   Partnership Corporation
                                                     □ A6113 Partnership and Corporate Governance Case                    2.8
                      Governance (21)

                                                     □ A6121 Civil Harassment                                             2. 3,9

  II                                                 □ A6123 Workplace Harassment                                         2. 3.9

  Ii
  = £                Other Petitions (Not
                                                     □ A6124 Elder/Dependent Adult Abuse Case                             2, 3.9
                    Specified Above) (43)            □ A6190 Election Contest                                             2
   «1
  S u                                                □ A6110 Petition for Change of Name/Change of Gender                 2.7
                                                     □ A6170 Petition for Relief from Late Claim Law                      2. 3.8
                                                     □ A6100 Other Civil Petition                                         2.9




 LACIV109 (Rev 2/16)                              CIVIL CASE COVER SHEET ADDENDUM                                       Local Rule 2.3
 LASC Approved 03-04                                 AND STATEMENT OF LOCATION                                            Page 3 of 4
     Case 2:19-cv-10774-JAK-MRW Document 1-1 Filed 12/20/19 Page 14 of 21 Page ID #:17

 SHORT TITLE;                                                                               CASE NUMBER
                 Karla Uribe v. Target Corporation, et al.


Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
        type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
        (No address required for class action cases).

                                                                        AOORESS;
   REASON:                                                              15129 Polk St.
    □ 1.D2.D3.a4.D5.D6.D7. 0 8. □ 9.Dl0.nl1.



   CITY:                                       STATE:     ZIP CODE:

   Sylmar                                      CA         91342

Step 5: Certification of Assignment: I certify that this case is properlyfiled in the Central Judicial               District of
        the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




  Dated; November 20, 2019
                                                                                         (SIGNATURE OF ATTORNEYSlUNG PARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:
           1.   Original Complaint or Petition.
       2.       If filing a Complaint, a completed Summons form for issuance by the Clerk.
       3.       Civil Case Cover Sheet, Judicial Council form CM-010.
       4.       Civil Case Cover Sheet Addendum and Statement of Location form, LACIV109, LASC Approved 03-04 (Rev.
                02/16).
       5.       Payment in full of the filing fee. unless there is court order for waiver, partial or scheduled payments.
       6.       A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
                minor under 18 years of age will be required by Court in order to issue a summons.
       7.       Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
                must be served along with the summons and complaint, or other initiating pleading in the case.




  LACIV 109 (Rev 2/16)                        CIVIL CASE COVER SHEET ADDENDUM                                               Local Rule 2.3
  LASC Approved 03*04                            AND STATEMENT OF LOCATION                                                    Page 4 of 4
Case 2:19-cv-10774-JAK-MRW Document 1-1 Filed 12/20/19 Page 15 of 21 Page ID #:18

                                                                                            Reserved for Clerk's File Stamp
          SUPERIOR COURT OF CALIFORNIA
             COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS;
                                                                                                       FILED
Stanley Mosk Courthouse                                                                       Sifiokr Court of Calforrio
                                                                                               County of UsArgolos
111 North Hill Street, Los Angeles, CA 90012
                                                                                                    11/20/2019
PLAINTIFF(S):
                                                                                        SnaiiR Cttlar,Eittu0i«Oittr/ GUAorCotii
Karla Uribe                                                                              By           Diana Diaz       Deputy
DEFENDANT(S);

Target Corporations
                                                                                        CASE NUMBER;
      NOTICE OF CASE ASSIGNMENT - LIMITED CIVIL CASE
                                                                                        19STLC10742

Case Is assigned for all purposes to the judicial officer indicated below. Notice given to Plaintiff / Cross-Complainant /
Attorney of Record on        11/20/2019

                             ASSIGNED JUDGE                          DEPARTMENT                           ROOM
                             Serena R. Murillo
                                                              Sherri R. Carter, Executive Officer / Clerk of Court
                                                           By Diana Diaz______                       Deputy Clerk

                                     Instructions for Handling Limited Civil Cases

The following critical provisions, as applicable In the Los Angeles Superior Court are cited for your information.
PRIORITY OVER OTHER RULES: The priority of Chapter Seven of the LASC Local Rules over other inconsistent
Local Rules is set forth in Rule 7.2© thereof.
CHALLENGE TO ASSIGNED JUDGE: To the extent set forth therein, Government Code section 68616(1) and Local
Rule 2.5 control the timing of Code of Civil Procedure section 170.6 challenges.
TIME STANDARDS: The time standards may be extended by the court only upon a showing of good cause.
(Cal. Rules of Court, rule 3.110.) Failure to meet time standards may result in the imposition of sanctions.
(Local Rule 3.37.)
Except for collections cases pursuant to California Rules of Court, rule 3.740, cases assigned to the Individual
Calendar Court will be subject to processing under the following time standards:
COMPLAINTS: All complaints shall be served and the proof of service filed within 60 days after filing of the complaint.
CROSS-COMPLAINTS: Without leave of court first being obtained, no cross-complaint may be filed by any party after
their answer is filed. Cross-complaints against parties new to the action must be served and the proof of service filed
within 30 days after the filing of the cross-complaint. A cross-complaint against a party who has already appeared in
the action must be accompanied by proof of service of the cross-complaint at the time it Is filed. (Code Civ. Proc., §
428.50.)
DEFAULTS (Local Rule 9.10); If a responsive pleading is not served within the time to respond and no extension of
time has been granted, the plaintiff must file a Request for Entry of Default within 10 days after the time for service has
elapsed. Failure to timely file the Request for Entry of Default may result in an Order to Show Cause being issued as
to why sanctions should not be imposed. The plaintiff must request default judgment on the defaulting defendants
within 40 days after entry of default.
NOTICED MOTIONS: All regularly noticed motions will be calendared through the assigned department. Each motion
date must be separately reserved and filed with appropriate fees for each motion. Motions for Summary Judgment
must be identified at the time of reservations. All motions should be filed in the clerk’s office.
EX PARTE MATTERS: All ex parte applications should be noticed for the courtroom.
UNINSURED MOTORISTS CLAIMS: Delay Reduction Rules do not apply to uninsured motorist claims. The plaintiff
must file a Notice of Designation with the Court identifying the case as an uninsured motorist claim under Insurance
Code section 11580.2.


                                NOTICE OF CASE ASSIGNMENT - LIMITED CIVIL CASE
LACIV___ 001 (Rev. (03/17)
LASC Approved 09-04
Case 2:19-cv-10774-JAK-MRW Document 1-1 Filed 12/20/19 Page 16 of 21 Page ID #:19
                                                                                                               2018-SJ-008-OC




   1

   2                                                                                            FILED
                                                                                       Supenor Court of Catifomla
                                                                                         County of Lo3 Angetes
   3

   4
                                                                                             APR 182018
   5
                                                                                         ^teph^ Chung
   6
   7
   8                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
   9                                      FOR THE COUNTY OF LOS ANGELES
  10
  11   In re Civil Limited JurlbUiction Cases                     ) FIRST AMENDED STANDING ORDER
  12   Calendared in Department 94 (Non-Collection                ) (Effective as of April 23, 2018)
       Cases)                                                     )
  13
  14            TO EACH PARTY AND TO THE ATTORNEY OF RECORD FOR EACH PARI Y:
  15            Pursuant to the California Code of Civil Procedure (“C.C.P.”), the California Rules of Court
  16   (“C.R.C.”), and the Los Angeles County Court Rules (“Local Rules”), the Los Angeles Superior
  17   Court ("LASC” or “Court”) HEREBY AMENDS AND SUPERSEDES THE JANUARY 12. 2018
  18   STANDING ORDER, AND THE COURT HEREBY ISSUES THE FOLLOWING STANDING
  19   ORDER THAT SHALL APPLY TO ALL LIMITED CIVIL (NON COLLECTION) CASES FILED
 20    AND/OR HEARD IN DEPARTMENT 94.
 21             1.        PLAINTIFF(S) IS/ARE ORDERED TO SERVE A COPY OF THIS STANDING
 22    q^D^]^ ON THE DEFENDANIYSI WITH COPIES OF THE SUMMONS AND COMPLAINT
 23    AND TO FILE PROOF OF SERVICE. AS MANDATED IN THIS ORDER.
 24             2.       The Court sets the following trial date in this case in Department 94 (7*^ Floor, Room
 25    723) at the Stanley Mosk Courthouse, 111 North Hill Street, Los Angeles, CA 90012;
 26
                             TRIAL: Order to Show Cause Re: Failure to File Proof of Service; 11/23/2022
 27                                 Non-Jury Trial:05/19/2021
                             Date:                                           at 8:30 a.m.
 28


                                                            1
                                              FIRST AMENDED STANDING ORDER
                     CIVIL LIMITED JURISDICTION CASES CALENDARED IN DEPT. 94 (NON COLLECTION CASES)
Case 2:19-cv-10774-JAK-MRW Document 1-1 Filed 12/20/19 Page 17 of 21 Page ID #:20
                                                                                                       2018-SJ-008-0(




   I                                  SERVICE OF SUMMONS AND COMPLAINT
   2              3.        The trial date set forth above is conditioned on the defendant(s) being served with the
   3       summons and complaint within six (6) months of the filing of the complaint. The trial date may be
   4       continued to a later date if service is not accomplished within six months. The parties may stipulate
   5       to keep the original trial date even ifservice of the summons and complaint is not completed within
   6       six months of the filing of the original complaint.
   7         r    4.        The summons and complaint shall be served upon the defendant(s) within three years
   8       after the complaint is filed in this action. (C.C.P., § 583.210, subd. (a).) Failure to comply will result
   9. in dismissal, without prejudice, of the action, as to all unserved parties who have not been dismissed
  10       as of that date. (C.C.P., § 581, subd. (g).) The dismissal without prejudice as to the unserved parties
  11       for this case shall be effective on the following date:
  12
  13                                  UNSERVED PARTIES DISMISSAL DATE

  14

  15
  16
  17
  18              5.        No case management, mandatory settlement or final status conferences will be
  19   conducted in this case.
 20                                                 LAW AND MOTION
 21               6,        All regularly noticed pretrial motions will be heard in Department 94 on Mondays,
 22: Tuesdays, Wednesdays, and Thursdays at 8:30 a.m. A motion will be heard only if a party reserves a
 23    hearing date by going to ihe court’s website at www.lacourt.org and reserving it through the Court
 24    Reservation System (“CRS”) accessed via the “Divisions” lab at the top of the webpage, in the

 25    “Civil” Division section. All motions should be filed at the tiling window on the first floor of the

 26    Stanley Mosk Courthouse and filed and served in accordance with C.C.P., § 1005, subd. (b), and all
       I
 27    other relevant statutes.

 28    ///




                                                              2
                                                FIRST AMENDED STANDING ORDER               '
                       CIVIL LIMITED JURISDICTION CASES CALENDARED IN DEPT. 94 (NON COLLECTION CASES)
I

    Case 2:19-cv-10774-JAK-MRW Document 1-1 Filed 12/20/19 Page 18 of 21 Page ID #:21
                                                                                                          2018-SJ*008^




       I           1.        Tentative Rulings mav be posted on the Court’s internet site no later than the day prior
       2   to the hearing. To access tentative rulings, parties may go to www.lacQurt.org. select “Civil”
       3   Division from the Divisions” tab at the top of the webpage, then click on “Tentative Rulings,” and
       4   then type the case number in the box and click “Search.”
       5                                          EX PARTE APPLICATIONS
       6           8.        Ex parte applications must be noticed for 1:30 p.m. in Department 94 and filed and
       7   served in accordance with C.R.C., Rules 3.1201-3.1207. All ex parte application fees must be paid
       8   by 1:00 p.m. at the filing window on the first floor of the Stanley Mosk Courthouse.
       9                                                   JURY FEES
      10           9.        The fees for jury trial shall be due no later than 365 calendar days after the filing of
      II   the initial complaint, or as otherwise piuvidcd by C.C.P., § 631, subds. (b) and (c).
      12                                   STIPULATION TO CONTINUE TRIAL
      13           10.       A trial will be postponed if all attorneys of record and/or the parties who have
      14   appeared in the action stipulate in writing to a specific continued date. If the stipulation is filed less
      15   than five (5) court days before the scheduled trial date, then a courtesy copy of the stipulation must be
     16    filed in Department 94. A proposed order shall be lodged along with the stipulation. The Stipulation
      17   and Order should be filed in Room 118 of the Stanley Mosk Courthouse with the required filing fees.
      18                                                      TRIAL
      19           11.       Parties are to appear on the trial date ready to go to trial, and must meet and confer on
     20    all pretrial matters at least 20 calendar days before the trial date. On the date of trial, the parties shall
     21    bring with them to Department 94 a three-ring binder with a table of contents containing conformed
     22    copies of each of the following documents behind a separate tab.
     23                      1) Printed copies of the Current Operative Pleadings (including the operative
     24                         complaint; answer; cross-complaint, if any; and answer to cross-complaint);
     25                      2) Motions in Limine, if any, which must be served and filed in accordance with the
     26                         Local Rules, Rule 3.57;
     27                      3) loint Statement of the Case (if a jury trial);
     28    ///




                                                               3
                                                 FIRST AMENDED STANDING ORDER
                        CIVIL LIMITED JURISDICTION CASES CALENDARED IN DEPT. 94 {NON COLLECTION CASES)
Case 2:19-cv-10774-JAK-MRW Document 1-1 Filed 12/20/19 Page 19 of 21 Page ID #:22
                                                                                                  2018-SJ-0Oa-0C




   1                   4) Joint Witness List disclosing an offer of proof regarding the testimony of each
   2                       witness, the time expected for testimony of each witness, the total time expected
   3                       for all witnesses, and the need, if any, for an interpreter,
   4                   5) Joint Exhibit List;
   5                   6) Printed and Edited Joint Proposed Jury Instructions (if a jury trial), and
   6                   7) Printed Joint Proposed Verdict Fonn(s) (if a jury trial).
   7            The parties shall also bring a second binder containing the Joint Exhibits in an Exhibit Book
   8   numbered appropriately.
   9            FAILURE TO PROVIDE ANY OF THE AFOREMENTIONED DOCUMENTS ON
  10   THE TRIAL DATE MAY CAUSE A DELAY IN THE CASE BEING ASSIGNED TO A
  11   TRIAL COURT.
  12            GOOD CAUSE APPEARING THEREFOR. IT IS ORDERED.                                      r

  13
  14
  15   Dated:                     aoia
  16                                                           DEERE IC. WEINTRAUB
                                                               Superv'ising Judge, Civil
  17                                                           Los Angeles Superior Court
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                              <           FIRST AMENDED STANDING ORDER
                 CIVIL LIMITED JURISDICTION CASES CALENDARED IN DEPT. 94 (NON COLLECTION CASES)
Case 2:19-cv-10774-JAK-MRW Document 1-1 Filed 12/20/19 Page 20 of 21 Page ID #:23



                                                                                       0EK*l6>Umited Jurisdiction PoTtal«PJ
                                                                                      _   filed
                                                                                      »]^or Court or CiUfbrala
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                                                                                          JUN 29 2016
    2
                                                                               SfcmlR^er, Emflra Otntti/airfc
    3                                                                           Or.
    4                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
    5                                   FOR THE COUNTY OF LOS ANOELES
    6
        In re Limited Jurisdiction Civil Cases           )   GENERAL ORDER RE LIMITED
    7   Calendared in the Los Angeles County                 JURISDICTION CIVIL PROCEDURES:
        Superior Court                                       NOTICE OF WEB PORTAL
    8                                                        AVAILABIUTy FOR INTERPRETER
                                                             REQimSTS
    9                                                        elective July U,201Q
   10
   11   TO EACH PARTY:                                            r

   12           Id order to expedite the availobili^ of interpieteis at bearings on limited jurisdictioa civil cases,
   13   IT IS HEREBY ORDERED that each limited jurisdiction civil plamtifT shall, along with the complaint
   14   and other required documents, serve all named defendants with the Notice ofthe AvoilabiUty of Web
   15   Portalfor Interpreter Requests; tins notice informs the litigants that the Los Angeles County Superior
   16   Court provides interpreter services in limited jurisdictiuo civil cases at no cost to parties with limited
   17   English proficiency and that Spanish language inteiprcleis are available in courtrooms ^ere limited
   18 jurisdiction civil hearings are held. The notice          be provided to the plaintifF at the time the limited
   19 jurisdiction civil action is filed, if filed at the cleric's ofiSce, and will also be posted on the Los Angeles
   20   County Superior Court internet websMe (http://wv/w.1acourtorg/)* Plamti£I(s) must then indicate service
   21   of the Notice qfAvailability of Web Portalfor Interpreter Requests on line 2(0 of the Proof of Service
   22   of Summons form (POS-010).
   23           Efiective immediately, this General Order is to remain in eSset until othervrise ordered by the
   24   Presiding Judge.
   25
   26   DATED: June
   27                                                           CAROLYN B.K
                                                                Presiding Judge
   28
                                                                  1
                                     GENERAL ORDER-UMITED JURISDICTION CIVIL PORTAL
   Case 2:19-cv-10774-JAK-MRW Document 1-1 Filed 12/20/19 Page 21 of 21 Page ID #:24

                                Notice of AvillibHttv of limited Ctvit Jurisdiction Web Prnlil for internrcter Reaucm

 The Los Angeles Superior Court provides interpreter services at no cost to parties with limited English proficiency In Limited Civil jurlsdlc^n hearings.
 Spanish Interpreters are available at all courthouse locations. Therefore, It Is not necessary to request a Spanish language Interpreter In advance. If
 you require a Spanish Interpreter, please let the courtroom staff know about your need on the day of your hearing. Limited English proficient
 individuals who speak a language other than Spanish may request an Interpreter In advance of their court hearing via the Court's Web Portal for
 Interpreter Requests [URL}. While the Court will make every effort to locale an Interpreter for the date and time of your hearing, it cannot guarantee
 that one will be Immediately available. If you have general questions about language access services, please contact us at
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